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14
                             UNITED STATES DISTRICT COURT
15
                          SOUTHERN DISTRICT OF CALIFORNIA
16
       MINERVA MARTINEZ,                        Case No.: '21CV2146 L        DEB
17     individually, and on behalf of a class
       of similarly situated individuals,       CLASS ACTION COMPLAINT
18                                              FOR:
                    Plaintiff,
19                                              (1)      Breach of Express Warranty;
             v.                                 (2)      Violation of Nevada Deceptive
20                                                       Trade Practices Act, NRS §
       NISSAN NORTH AMERICA INC.,                        598.0903 et seq.;
21     a Delaware corporation,                  (3)      Breach of Common Law Implied
                                                         Warranty of Merchantability and
22                  Defendant.                           Breach of Implied Warranty
                                                         Pursuant to Nev. Rev. Stat. §§
23                                                       104.2314 and 104A.2212;
                                                (4)      Declaratory Judgment Act, 28
24                                                       U.S.C. § 2201, et seq. and Fed. R.
                                                         Civ. P. 57; and
25                                              (5)      Unjust enrichment
26
                                                DEMAND FOR JURY TRIAL
27
28
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 1           Plaintiff Minerva Martinez (“Ms. Martinez”) brings this action for herself
 2     and on behalf of all persons in the United States (“Class Members”) who
 3     purchased or leased any 2017-2018 Nissan Altima or Nissan Sentra equipped
 4     with a Continuously Variable Transmission (“Class Vehicles”) designed,
 5     manufactured, marketed, distributed, sold, warranted, and/or serviced by Nissan
 6     North America, Inc. (“Nissan” or “Defendant”).
 7           1.     Defendant Nissan North America, Inc., designed, manufactured,
 8     marketed, distributed, sold, warranted, and/or serviced the Class Vehicles.
 9     Plaintiff alleges as follows:
10                                     INTRODUCTION
11           2.     This is a consumer class action concerning a failure to disclose
12     material facts and a safety concern to consumers.
13           3.     Nissan manufactured, marketed, distributed, and sold the Class
14     Vehicles without disclosing that the Class Vehicle’s Xtronic Continuously
15     Variable Transmission (“CVT”) was defective.
16           4.     Specifically, Plaintiff is informed and believes, and based thereon
17     alleges, that the CVT transmission contains one or more design and/or
18     manufacturing defects. The CVT is defective as detailed herein (collectively, the
19     “CVT Defect”). Discovery will show the Class Vehicles are designed and/or
20     manufactured with an inadequate cooling system. The CVT fluid temperature in
21     Class Vehicles is controlled by a small cooler, rather than a radiator. This cooler
22     is too small and/or manufactured so poorly that it fails to properly regulate the
23     temperature in the fluid which lubricates all the components of the CVT,
24     including the belts, pulleys, and valves. This design and/or manufacturing defect
25     makes the transmission unreasonably sensitive to heat. The CVT in every Class
26     Vehicle is thus prone to overheating, which activates a fluid temperature
27     protection mode and reduces transmission performance, among other symptoms.
28     As a result, drivers experience conditions ranging from shuddering, jerking,
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 1     failure to accelerate, all the way to catastrophic transmission failure.
 2           5.     The CVT Defect causes sudden, unexpected shaking and violent
 3     jerking (commonly referred to as “juddering” or “shuddering”) when drivers
 4     attempt to accelerate their vehicles; it causes the vehicle to lag or delay when the
 5     driver tries to accelerate, causing an unsafe, unpredictable acceleration; it
 6     exhibits a hard deceleration or “clunk” when drivers either slow down or
 7     accelerate at low speeds; it causes complete transmission failure in the middle of
 8     roadways, and it suffers catastrophic failure, necessitating replacement.
 9           6.     Nissan sold the Class Vehicles with a 5-year, 60,000-mile
10     powertrain warranty that purports to cover the CVT. However, owners and
11     lessees have complained that their CVTs failed and required replacement just
12     outside the warranty period. As Class members have reported to the National
13     Highway Traffic Safety Administration (“NHTSA”), Nissan’s authorized
14     dealerships are replacing transmissions both within, and just outside, the
15     warranty period.
16           7.     The CVT Defect is inherent in each Class Vehicle and was present
17     at the time of sale.
18           8.     Plaintiff is informed and believes, and based thereon alleges, that
19     since 2013, if not earlier, Nissan has been aware that the CVT installed in the
20     Class Vehicles would require frequent replacement, including replacements just
21     outside of warranty, that the replacement transmissions installed would be
22     equally defective as the originals, and that the CVT would cause the symptoms
23     of the CVT Defect described above (juddering, lag when attempting to
24     accelerate, hard deceleration, complete failure and other symptoms), and that the
25     Class Vehicles’ CVT would require frequent repair, yet Nissan continued to
26     install the defective CVT. Moreover, Nissan not only refused to disclose the
27     problem to owners and lessees, but it also actively concealed, and continues to
28     conceal, its knowledge concerning the CVT Defect.
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 1           9.     Nissan undertook affirmative measures to conceal CVT failures and
 2     other malfunctions through, among other things, Technical Service Bulletins
 3     (“TSB”) issued only to its authorized repair facilities.
 4           10.    Nissan had superior and/or exclusive knowledge of material facts
 5     regarding the CVT Defect as a result of its pre-production testing, design failure
 6     mode analysis, customer complaints made to NHTSA, prior litigation, and
 7     customer complaints made to dealers.
 8           11.    As a result of Nissan’s failure to disclose material facts regarding
 9     the CVT Defect to its customers, the Class has incurred significant and
10     unexpected repair costs. Nissan’s omission of the CVT’s marked tendency to
11     fail, whether within warranty or just outside of warranty, at the time of purchase
12     is material because no reasonable purchaser or lessee expects to spend thousands
13     of dollars to repair or replace essential transmission components in the early
14     years of owning their vehicles.
15           12.    The CVT Defect is also material to purchasers and lessees because it
16     presents an unreasonable safety risk. Transmission malfunctions can impair any
17     driver’s ability to control his or her vehicle and greatly increase risk of collision.
18     For example, turning left across traffic in a vehicle with delayed and
19     unpredictable acceleration is plainly unsafe. In addition, these conditions can
20     make it difficult to safely change lanes, merge into traffic, turn, accelerate from
21     stop lights/signs, and accelerate onto highways or freeways.
22           13.    Nissan’s failure to disclose the alleged defect has caused Plaintiff
23     and putative class members to lose use of the Class Vehicles and/or incur costly
24     repairs that have conferred an unjust substantial benefit upon Nissan.
25           14.    Had Nissan disclosed the CVT Defect to Plaintiff and Class
26     Members, they would not have purchased the Class Vehicles, would have paid
27     less for them, and/or would have required Nissan to replace or pay for the
28     replacement of the defective CVT with a non-defective version before their
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 1     warranty periods expired.
 2                                      THE PARTIES
 3     Plaintiff Minerva Martinez
 4           15.    Plaintiff Minerva Martinez is a citizen of Nevada. She purchased her
 5     new 2017 Nissan Altima, VIN 1N4AL3AP4HC110364, from United Nissan, an
 6     authorized Nissan dealership in Las Vegas, Nevada, on April 5, 2017. As of
 7     September 29, 2021, the mileage on the vehicle was approximately 70,000 miles.
 8           16.    Passenger safety and reliability were significant factors in Plaintiff
 9     Martinez’s decision to purchase her vehicle. Prior to purchasing her car, Ms.
10     Martinez test drove the Nissan Altima with a dealership salesperson who touted
11     the vehicle’s attributes and benefits, including the smooth ride and more
12     powerful engine. Before making her purchasing decision, Ms. Martinez also
13     reviewed the “Monroney” window sticker on the vehicle, Nissan materials that
14     discussed the car’s warranty program, and the Nissan warranty booklet.
15           17.    If any of Nissan’s advertisements or marketing materials had
16     accurately disclosed the CVT defect, it is likely the defect would have been
17     sufficiently widely reported that Ms. Martinez would have learned of the CVT
18     Defect through her research, the materials she viewed at the dealership, or in her
19     conversations with salespeople at the dealership before she purchased the
20     vehicle.
21           18.    Ms. Martinez would not have purchased the vehicle, or would have
22     paid less for it, if she had learned or been made aware the CVT was defective.
23           19.    Per the warranty’s requirements, Ms. Martinez operated her vehicle
24     at all times in a foreseeable manner, consistent with its intended use.
25     Nevertheless, after she purchased her vehicle, Ms. Martinez began experiencing
26     loss of power, failure to accelerate, and the feeling of the vehicle not stopping
27     even when she was not applying any pressure to the gas pedal. She also
28     experienced the vehicle not accelerating even when she was applying pressure to
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 1     the gas pedal.
 2           20.     On or around September 3, 2020, with 51,644 miles on the
 3     odometer, Ms. Martinez took her vehicle to United Nissan in Las Vegas, Nevada.
 4     She informed the service advisor that the car intermittently loses power when
 5     accelerating and going uphill. She further informed United Nissan that such loss
 6     of power and failure to accelerate was so extreme that she felt as though the
 7     brakes were engaging even though her foot was pressing down on the
 8     accelerator. The service records indicate the technician verified Ms. Martinez’
 9     complaint and reprogrammed the transmission control module in order to try and
10     address the issue. This attempt at repair did not fix the problem.
11           21.     Following the visit to United Nissan, Ms. Martinez continued to
12     experience problems with her vehicle’s transmission. Specifically, Ms. Martinez
13     reports experiencing poor or failed acceleration, an extremely delayed response
14     time between applying pressure to the gas pedal and the car beginning to
15     accelerate, as well as frequent occasions where the vehicle’s transmission would
16     not accelerate at all.
17           22.     On or around January 4, 2021, Ms. Martinez was again
18     experiencing delayed acceleration when her vehicle lurched forward into another
19     vehicle as a result of the transmission’s non-responsiveness. Ms. Martinez
20     brought her vehicle to United Nissan on January 8, 2021, with 59,905 miles on
21     the odometer for diagnosis and repair of the transmission problems she believes
22     caused her accident just days prior. According to the service records and despite
23     Ms. Martinez’ complaint, Nissan mischaracterized the complaint as one
24     involving brakes and refused to diagnose or attempt to repair the transmission
25     safety issue. This refusal was despite Nissan’s keeping Ms. Martinez’ vehicle at
26     the dealership for thirty-three (33) days.
27           23.     As a result of Ms. Martinez’ fear of the transmission issue and
28     Nissan’s failure to attempt to repair or even diagnose the problem, she
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 1     immediately purchased an Advantage Care extended service contract from
 2     United Nissan upon their release of the vehicle back to her, on February 10,
 3     2021. Ms. Martinez purchased this service contract at a total $2,836.00 out of
 4     pocket cost.
 5           24.      Despite providing Nissan and its authorized dealer more than one
 6     opportunity to repair her vehicle, Ms. Martinez continues to experience the CVT
 7     defect.
 8     Defendant Nissan North America, Inc.
 9           25.      Defendant Nissan North America, Inc., is a corporation that was
10     originally, and during the relevant time period, organized and in existence under
11     the laws of the State of California and registered to do business in California.
12     Nissan North America, Inc., is headquartered in Franklin, Tennessee. Nissan
13     North America, Inc., designs and manufactures motor vehicles, parts, and other
14     products for sale in California and throughout the United States. Nissan is the
15     warrantor and distributor of the Class Vehicles in California and throughout the
16     United States. During the time period during which the Class Vehicles were
17     designed, marketed, and sold, Nissan North America, Inc., was a California
18     corporation organized and in existence under the state of California. At the end
19     of 2021, Nissan North America, Inc., changed its state of incorporation from
20     California to Delaware.
21           26.      Nissan North America, Inc., continues to operate its subsidiary,
22     Nissan Design America, headquartered in the Southern District of California at
23     9800 Campus Point Drive, San Diego, CA 92121.
24           27.      Defendant Nissan North America, Inc.’s parent company is Nissan
25     Jidosha Kabushiki Kaisha d/b/a Nissan Motor Co., Ltd. (hereinafter, “Nissan
26     Japan”). Nissan Motor Co., Ltd. is publicly traded in Japan.
27           28.      Defendant, through its various entities, designs, manufactures,
28     markets, distributes, services, repairs, sells, and leases passenger vehicles,
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 1     including the Class Vehicles, nationwide and in California.
 2           29.    At all relevant times, Defendant was and is engaged in the business
 3     of designing, manufacturing, constructing, assembling, marketing, distributing,
 4     and selling automobiles and motor vehicle components in the Southern District
 5     of California and throughout the United States of America.
 6                                         JURISDICTION
 7           30.    This is a class action.
 8           31.    Members of the proposed Class, which includes citizens of
 9     California, are citizens of states other than Tennessee, where Nissan is
10     headquartered, California, where Nissan North America, Inc., was incorporated
11     until the end of 2021, and Delaware, where Nissan North America, Inc., is newly
12     incorporated.
13           32.    On information and belief, aggregate claims of individual Class
14     Members exceed $5,000,000.00 in value, exclusive of interest and costs.
15           33.    Jurisdiction is proper in this Court because at least one class
16     member is of diverse citizenship from one defendant, there are more than 100
17     class members, and the aggregate amount in controversy exceeds $5 million,
18     exclusive of interests and costs.
19           34.    Accordingly, jurisdiction is proper in this Court pursuant to 28
20     U.S.C. § 1332(d).
21                                             VENUE
22           35.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)
23     because, inter alia, a substantial part of the events or omissions giving rise to the
24     claims alleged herein occurred in and emanated from this judicial district, and
25     because Defendant has caused harm to Class Members residing in this district.
26           36.    Additionally, Nissan North America, Inc.’s division, Nissan Design
27     America, resides in the Southern District of California and is headquartered at
28     9800 Campus Point Drive, San Diego, CA 92121.
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 1           37.    During the time period during which the Class Vehicles were
 2     designed, marketed, and sold, Nissan North America, Inc., was a California
 3     corporation organized and in existence under the state of California. At the end
 4     of 2021, Nissan North America, Inc., changed its state of incorporation from
 5     California to Delaware.
 6                               FACTUAL ALLEGATIONS
 7           38.    Nissan is known throughout the United States as a major
 8     manufacturer of automobiles and related products, which are sold under the
 9     Nissan brand.
10           39.    Nissan designed, manufactured, imported, distributed, and/or
11     marketed the Class Vehicles in the United States, including in Nevada and
12     throughout the United States and its territories. Nissan also provides sales, repair,
13     and maintenance services for the Class Vehicles through its nationwide network
14     of authorized dealers and service providers.
15           40.    Upon information and belief, the only method Nissan makes
16     available for the purchase of Class Vehicles is through its nationwide network of
17     authorized dealers.
18           41.    The CVT is an automatic transmission that uses two variable-
19     diameter pulleys with a steel belt running between them to change speed, instead
20     of a gearbox and clutch system. Rather than relying on the fixed gear ratios of
21     the traditional automatic transmission, the pulleys can adjust their width to make
22     the belt turns faster or slower, depending on the speed of the vehicle and the
23     torque needed. The CVT thus “simultaneously adjusts the diameter of the ‘drive
24     pulley’ that transmits torque from the engine and the ‘driven pulley’ that
25     transfers torque to the wheels” to allow for an infinite number of gear ratios. In
26     theory, the CVT chooses the gear ratio optimum for driving conditions.
27           42.    The CVT, allegedly offering more efficient power delivery and
28     better fuel economy, is standard in the Class Vehicles.
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 1         43.    The illustration in Figure One, below, depicts the way the CVT’s
 2   belt and pulley system adjusts the gear ratio to change speed:
 3
 4
 5
 6
 7
 8
           44.    Consumers complain that their vehicles take an inordinately long
 9
     time to accelerate from a stop or low speed, exhibit a hard deceleration or
10
     “clunk” when drivers either slow down or accelerate at low speeds, shudder and
11
     shake or make a loud clunking or knocking sound when the CVT finally selects
12
     the appropriate gear ratio, and completely fail to accelerate. Consumers also
13
     frequently complain of unusually high RPMs and/or a loud whining once they
14
     achieve speed that exceeds their reasonable expectations for noise from the CVT.
15
     Finally, in addition to hesitations, slow response, and loud noises, the lifespan of
16
     the CVT in the Class Vehicles is unreasonably short.
17
           45.     Plaintiff is informed and believes discovery will show the Class
18
     Vehicles are designed and/or manufactured with an inadequate cooling system.
19
     The CVT fluid temperature in class vehicles is controlled by a small cooler,
20
     rather than a radiator. This cooler is too small and/or manufactured so poorly that
21
     it fails to properly regulate the temperature in the fluid which lubricates all the
22
     components of the CVT, including the belts, pulleys, and valves. This design
23
     and/or manufacturing defect makes the transmission unreasonably sensitive to
24
     heat. The CVT in every Class Vehicle is thus prone to overheating, which
25
     activates a fluid temperature protection mode and reduces transmission
26
     performance, among other symptoms. As a result, drivers experience conditions
27
     ranging from shuddering, jerking, failure to accelerate, all the way to
28
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 1   catastrophic transmission failure.
 2         46.    Nissan sold the class vehicles with a 5-year, 60,000-mile powertrain
 3   warranty that purports to cover the CVT. However, consumers have complained
 4   that their CVTs have failed and required replacement just outside the 60,000-
 5   mile warranty period. As Class Members have reported to the National Highway
 6   Traffic Safety Administration (“NHTSA”), Nissan’s authorized dealerships are
 7   replacing transmissions both within, and just outside, the 60,000- mile warranty
 8   period.
 9         47.    The CVT Defect alleged is inherent in, and the same for, all Class
10   Vehicles.
11         48.    On information and belief, dating back to at least 2013, Nissan was
12   aware of material facts regarding the CVT Defect, but failed to disclose them to
13   consumers. As a result of this failure, Plaintiff and Class Members have been
14   damaged.
15         49.    The CVT Defect poses an unreasonable safety hazard. Hesitations,
16   slow and failed responses, hard braking and catastrophic transmission failure
17   impair drivers’ control over their vehicles, which significantly increases the risk
18   of accidents. For example, turning left across traffic in a vehicle with delayed
19   and unpredictable acceleration is unsafe. In addition, these conditions can make
20   it difficult to safely change lanes, merge into traffic, turn, brake slowly or
21   accelerate from stop light/sign, and accelerate onto highways or freeways.
22   Complaints Lodged with NHTSA
23         50.    Federal law requires automakers like Nissan to be in close contact
24   with NHTSA regarding potential auto defects, including imposing a legal
25   requirement (backed by criminal penalties) compelling the confidential
26   disclosure of defects and related data by automakers to NHTSA, including field
27   reports, customer complaints, and warranty data. See TREAD Act, Pub. L. No.
28   106-414, 114 Stat. 1800 (2000).
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 1         51.     Automakers have a legal obligation to identify and report emerging
 2   safety-related defects to NHTSA under the Early Warning Report requirements.
 3   Id. Similarly, automakers monitor NHTSA databases for consumer complaints
 4   regarding their automobiles as part of their ongoing obligation to identify
 5   potential defects in their vehicles, including safety-related defects. Id. Thus,
 6   Nissan knew or should have known of the many complaints about the CVT
 7   Defect logged by NHTSA’s Office of Defects Investigation (“ODI”), and the
 8   content, consistency, and large number of those complaints alerted, or should
 9   have alerted, Nissan to the CVT Defect.
10         52.     For years, owners of Nissan Altima and Sentra models have
11   publicly complained to the United States government about the CVT Defect in
12   Class Vehicles. The ODI is an office within NHTSA. ODI conducts defect
13   investigations and administers safety recalls supporting the NHTSA’s mission to
14   improve safety on the Nation’s highways. All automobile manufacturers
15   routinely monitor and analyze NHTSA complaints because this information is
16   used in determining if a recall should be issued. Indeed, automobile
17   manufacturers are required by law to report any potential safety defects to the
18   United States government.
19         53.     The following complaints regarding the Altima made to NHTSA
20   and elsewhere online demonstrate that the defect is widespread and dangerous
21   and that it manifests without warning. The complaints also indicate Nissan’s
22   awareness of the problems with the CVT and Defect, including how dangerous
23   they are for drivers. These safety complaints relate to the CVT Defect (spelling
24   and grammar mistakes remain as found in the original) (NHTSA, Consumer
25   Complaints;
26   https://www.nhtsa.gov/vehicle/2017/NISSAN/ALTIMA/4%252520DR/FWD#co
27   mplaints;
28   https://www.nhtsa.gov/vehicle/2018/NISSAN/ALTIMA/4%252520DR/FWD#co
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 1   mplaints(October 2021).
 2           a.    DATE OF INCIDENT: June 15, 201 7
                   DATE COMPLAINT FILED: November 8, 2017
 3                 SUMMARY: MY TRANSMISSION STOPPED
                   WORKING WHILE I WAS DRIVING FIRST IN THE
 4                 CITY AND IT CONTINUED TO WHEN I WENT ON
                   THE HIGHWAY TO THE POINT I HAD NO POWER
 5                 AND THE WHEN I PRESSED THE GAS NOTHING
                   WOULD HAPPEN. I HAD TO HAVE THE COMPUTER
 6                 IN THE TRANSMISSION REPLACED AND THE CAR
                   STILL IDLES AS IF IT WILL CUT OFF AT ANY
 7                 MOMENT. THAT WAS AT 40K AND I JUST HAD TO
                   REPLACE THE O2 SENSOR AT 60K
 8
             b.    DATE OF INCIDENT: December 28, 2016
 9                 DATE COMPLAINT FILED: February 15, 2017
                   SUMMARY: VEHICLE HESITATES WHEN
10                 ACCELERATED. GEARS STICK OCCASIONALLY.
                   SMOKE SMELL OCCURRING. VEHICLE SEEMS TO
11                 GET WORSE WHEN GOING DOWN A HILL. WILL
                   NOT GO HIGHER THAN 10 MPH WHEN THIS
12                 OCCURS.
13           c.    DATE OF INCIDENT: April 24, 2021
                   DATE COMPLAINT FILED: April 25, 2021
14                 NHTSA ID NUMBER: 11413861
                   SUMMARY: I HAVE A 2017 NISSAN ALTIMA SV,
15                 4CYL, 2.5L... I AM HAVING WORSENING
                   PROBLEMS WITH ACCELERATION. WHEN
16                 ATTEMPTING TO PULL OFF FROM A RED LIGHT
                   FOR EXAMPLE, IT WILL HESITATE FOR ABOUT 4,5
17                 SECONDS, RPMS INCREASE THEN A SURGE OF
                   ACCELERATION. ALSO, WHILE DRIVING IT WILL
18                 LOSE SPEED WITH MY FOOT ON THE GAS, EVEN
                   WITH THE RPMS UP AS IF IT WERE MOVING
19                 FASTER.. THANKFULLY THE DRIVERS BEHIND ME
                   WERE ATTENTIVE OR IT COULD HAVE CAUSED
20                 ME AND OTHERS A GREAT DEAL OF DAMAGE,
                   LIKE WHEN I WAS TRYING TO ACCELERATE
21                 FROM A CROSS STREET TURN LANE. IT WAS
                   SPORADIC AT FIRST; I WENT TO VALVOLINE AND
22                 GOT REPLACEMENT TRANSMISSION FLUID, AND
                   THE GUY TURNED OFF THE ENGINE LIGHT. IT
23                 STARTED UP AGAIN A FEW WEEKS LATER, AND I
                   GOT A NEW AIR FILTER AND WENT BACK FOR A
24                 FUEL SYSTEM CLEANING. ANOTHER GUY RESET
                   THE ENGINE LIGHT AGAIN, AND NOW(ABOUT 3
25                 WEEKS LATER)IT'S BACK WITH THE SAME
                   PROBLEM. SOMETIMES, I'D PULL OVER AND TURN
26                 OFF THE CAR AND IT HELPED A BIT.
                   NOW(YESTERDAY) THAT ISN'T HELPING AND THE
27                 SLOW ACCELERATION AND SPEED HAPPENS
                   EVERY TIME. I USED THE DIAGNOSING TOOL AT
28                 AUTO ZONE WHICH READ, "P0776-PRESSURE
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                   CONTROL SOLENOID B PERFORMANCE OR STUCK
 1                 OFF". I AM SEEING THAT THERE ARE MANY
                   COMPLAINTS ABOUT THE EXACT SAME THING,
 2                 AND EVEN A RECALL ON THE MODELS UP TO 2016
                   REGARDING THIS, BUT 2017 AND AFTER SEEM TO
 3                 BE GETTING IGNORED.
 4           d.    DATE OF INCIDENT: April 12, 2021
                   DATE COMPLAINT FILED: April 20, 2021
 5                 NHTSA ID NUMBER: 11413037
                   SUMMARY: TL* THE CONTACT OWNS A 2017
 6                 NISSAN ALTIMA. THE CONTACT STATED THAT
                   WHILE THE VEHICLE WAS STOPPED AT A RED
 7                 TRAFFIC LIGHT, THE VEHICLE STALLED AFTER
                   THE ACCELERATOR PEDAL WAS DEPRESSED. THE
 8                 CHECK ENGINE WARNING WAS LIGHT
                   ILLUMINATED. THE VEHICLE WAS TOWED TO
 9                 NISSAN OF MISSION HILLS (11000 SEPULVEDA
                   BLVD, MISSION HILLS, CA 91345) TO BE
10                 DIAGNOSED. THE CONTACT WAS INFORMED
                   THAT THE TRANSMISSION NEEDED TO BE
11                 REPLACED. THE SENSOR FOR THE BRAKE PADS
                   WERE REPLACED HOWEVER, THE VEHICLE WAS
12                 NOT REPAIRED. THE MANUFACTURER WAS MADE
                   AWARE OF THE FAILURE. THE APPROXIMATE
13                 FAILURE MILEAGE WAS 76,000.
14           e.    DATE OF INCIDENT: April 18, 2021
                   DATE COMPLAINT FILED: April 28, 2021
15                 NHTSA ID NUMBER: 11408683
                   SUMMARY: VEHICLE KEEPS SHIFTING INTO
16                 SPORTS MODE WITHOUT ACTIVATING IT
17           f.    DATE OF INCIDENT: April 1, 2021
                   DATE COMPLAINT FILED: April 16, 2021
18                 NHTSA ID NUMBER: 11406970
                   SUMMARY: CVT TRANSMISSION IS JERKING,
19                 STALLING, SHUDDERING, AND HESITATING
                   WHILE DRIVING. CAR ONLY HAS 65K MILES.
20                 ISSUE HAS BEEN HAPPENING RANDOMLY FOR
                   ABOUT A WEEK. I DO NOT FEEL COMFORTABLE
21                 DRIVING IN THE CAR ANYMORE BECAUSE I FEEL
                   THAT THIS MALFUNCTION CAN EVENTUALLY
22                 CAUSE AN ACCIDENT.
23           g.    DATE OF INCIDENT: December 24, 2019
                   DATE COMPLAINT FILED: March 9, 2021
24                 NHTSA ID NUMBER: 11399947
                   SUMMARY: ALL THE SUDEN I WILL START MY
25                 CAR AND GIVE IT GAS AND WILL NOT MOVE AS
                   IF IT WAS BEING FORCE TO RUN. THIS HAS
26                 HAPPEN MANY TIME AFTER THIS DAY.
27           h.    DATE OF INCIDENT: February 20, 2021
                   DATE COMPLAINT FILED: March 8, 2021
28                 NHTSA ID NUMBER: 1N4AL3AP7HN
                                         Page 14
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                   SUMMARY: THE CAR DOESNT GO, IT STUTTERS,
 1                 AND THEN SUDDENLY GOES. TAKE A LOT OF
                   TIME TO CHANGE GEAR, IN SMALL HILLS
 2                 DOESN'T GO UP, THE RPM AND SPEED JUST GO
                   DOWN. THE CHECK ENGINE LIGHT COMES ON
 3                 AND OFF. NISSAN DEALERS SAYS IT IT OUT OF
                   GUARANTEE. A NISSAN ALTIMA 2017, 85K MILES
 4                 AND ITS OUT OF NISSAN GUARANTEE ALREADY,
                   AND THAT THEY CANT DO ANYTHING ABOUT IT.
 5                 UNBELIEVABLE. SADDLY FOR ME THE CARE IS
                   ALREADY PAYED OFF, THEY HAVE ALREADY ALL
 6                 THEIR MONEY, SO NO NEED TO FIX MY PROBLEM.
                   ALSO WHEN I BOUGHT THE CAR, IN A NISSAN
 7                 DEALER, THEY GAVE A FAKE CARFAX OF THE
                   CAR, THEY OMIT AN CRASH REPORT, ALSO THEY
 8                 ADVERTISED THE CAR FOR A VERY MUCH
                   LOWER PRICE THAN THEY SOLD IT TO ME, THEY
 9                 PUT A LOT OF FEES ON IT THAT THE PRICE WAS
                   2K OVER THAN THE ADVERTISED.
10
             i.    DATE OF INCIDENT: February 28, 2021
11                 DATE COMPLAINT FILED: March 15, 2020
                   NHTSA ID NUMBER: 11398278
12                 SUMMARY: THERE IS A DELAY IN
                   ACCELERATION FROM A COMPLETE STOP. STOPS
13                 FOR RED LIGHTS, STOP SIGNS AND TURNS ARE
                   EXTREMELY DANGEROUS AS THE ISSUE OF
14                 DELAYED ACCELERATION OCCURS RANDOMLY
                   AND WITHOUT WARNING.
15
             j.    DATE OF INCIDENT: February 14, 2021
16                 DATE COMPLAINT FILED: February 14, 2021
                   NHTSA ID NUMBER: 11396206
17                 SUMMARY: CAR STOPPED WHEN ON STOP LIGHT
                   WAS IN MOTION AND NEVER CAME BACK HAVE
18                 TO TOWE THE CAR . SOME TIME IT START AND
                   SOMETIME NOT . SO IT'S SCARY IF YOU PRESS
19                 THE BRAKE AND STOPS AND SOMEONE FROM
                   BEHIND CAN HIT YOU.
20
             k.    DATE OF INCIDENT: January 1, 2021
21                 DATE COMPLAINT FILED: February 4, 2021
                   NHTSA ID NUMBER: 11394671
22                 SUMMARY: WAS DRIVING AND THE STALL
                   WHILE I PULL OUT INTO TRAFFIC ACTING LIKE IT
23                 DON'T WANT TO GO
24           l.    DATE OF INCIDENT: January 1, 2021
                   DATE COMPLAINT FILED: January 22, 2021
25                 NHTSA ID NUMBER: 11389384
                   SUMMARY: THE VEHICLE SHUTS OFF WHILE
26                 DRIVING, DOES NOT MAINTAIN A SOLID SPEED,
                   INCREASES AND DECREASES SPEED ON IT OWN,
27                 WHEN STOPPED THE VEHICLE WITH NOT GO
                   WHEN THE GAS PEDAL IS PRESSED, IT WILL TAKE
28                 A FEW MOMENTS AND THEN ACCELERATE AT A
                                         Page 15
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                   REALLY HIGH SPEED OR FORCE. THE WINDOWS
 1                 RANDOMLY STOP WORKING, THE LIGHTS
                   FLICKER ON AND OFF, THE STEERING COLUMN
 2                 TIGHTENS AND THE VEHICLE RANDOMLY SHUTS
                   OFF WHILE DRIVING IT ON THE ROAD. IT WILL
 3                 DISPLAY THAT THE KEY IS MISSING AND TURN
                   OFF. IT HAS TAKEN SEVERAL MINUTES TO
 4                 RESTART THE CAR. THIS HAPPENS DURING IDLE
                   AND IN MOTION, ON THE HIGHWAY OR IN THE
 5                 CITY.
 6           m.    DATE OF INCIDENT: November 7, 2020
                   DATE COMPLAINT FILED: January 19, 2021
 7                 NHTSA ID NUMBER: 11388775
                   SUMMARY: WHEN I WAS DRIVING MY CAR AND
 8                 STOPPING AT A TRAFFIC LIGHT AND WHEN I
                   WOULD START TO DRIVE AGAIN THE CAR AT
 9                 TIMES HAS A PROBLEM WITH ACCELERATION
                   AND ALL OF SUDDENLY THE CHECK ENGINE
10                 LIGHT CAME ON I SCANNED THE ENGINE CODE
                   AND IT SHOWED A PO 776 TRANSMISSION
11                 PRESSURE CONTROL SOLENOID B PERFORMANCE
                   OR STUCK OFF THE CAR WOULD NOT MOVE BUT
12                 WHEN I TURNED IT OFF AFTER 10 MINUTES REST
                   THE CAR WILL START TO DRIVE AGAIN BUT
13                 WITH VERY SLOW ACCELERATION AND THE RPM
                   WAS VERY HIGH WHEN THE CAR WAS ONLY
14                 MOVING AT 20 MPH, MY UNDERSTANDING IS
                   THAT THIS HAPPENS TO A LOT OF THE CARS
15                 OWNERS BUT THESE NISSAN CARS NISSAN
16           n.    SHOULD FIX THE PROBLEMS WITH THE
                   TRANSMISSION THEY BUILT KNOW FULL WELL
17                 THAT THESE TRANSMISSIONS ARE NO GOOD
                   ,CURRENTLY THERE'S NO RECALLS ON THE 2017
18                 NISSAN ALTIMA SV WITH THIS ISSUE I WILL
                   NEVER BUY ANOTHER NISSAN AGAIN TILL THEY
19                 FIX THE TRANSMISSION PROBLEMS COSTING THE
                   CUSTOMERS MONEY AND NOT FIXING THE
20                 PROBLEMS WITH THEIR BAD TRANSMISSION
                   THAT THEY KNOW ABOUT SHAME ON NISSAN
21                 THE TRASH VEHICLES OF THE CENTURY ONLY
                   GOOD FOR A SHORT TIME THEN IT JUNK
22                 AFTERWARDS
23           o.    DATE OF INCIDENT: January 8, 2020
                   DATE COMPLAINT FILED: January 8, 2020
24                 SUMMARY: TL* THE CONTACT OWNS A 2018
                   NISSAN ALTIMA. THE CONTACT STATED THAT
25                 WHEN THE VEHICLE WAS STARTED AND SHIFTED
                   TO DRIVE, THE VEHICLE HESITATED AND THEN
26                 LUNGED FORWARD WHILE THE RPM'S REVVED
                   UP. THE CONTACT ALSO STATED THAT THE
27                 FAILURE RECURRED APPROXIMATELY 10 TIMES.
                   THE VEHICLE WAS TAKEN TO STAR NISSAN
28                 LOCATED AT 5757 WEST TOUHY AVENUE, NILES,
                                         Page 16
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                        IL 60714, (704) 867-8341 WHERE THE
 1                      TRANSMISSION CONTROL MODULE SOFTWARE
                        WAS UPDATED. . .
 2
                 p.     DATE OF INCIDENT: August 15, 2021
 3                      DATE COMPLAINT FILED: August 15, 2021
                        SUMMARY: CVT TRANSMISSION FAILURE WHILE
 4                      IN TRANSPORT. IT PUT MY FAMILY AT RISK
                        BEING STRANDED ON BUSY HIGHWAY. NO
 5                      WARNING LIGHTS OR INDICATION OF ISSUE
                        EXCEPT VEHICLE STOPPED PERFORMING
 6                      EFFECTIVELY. THE DEALER ACKNOWLEDGED
                        ISSUES IN THIS AND OTHER MODELS AND HAD
 7                      TRANSMISSION REPAIRED AT MY COST. VEHICLE
                        WAS DIAGNOSED BY DEALER WHICH USING OBD
 8                      THEY FOUND TRANSMISSION FAILURE CODES.
 9               q.     DATE OF INCIDENT: September 3, 2021
                        DATE COMPLAINT FILED: September 3, 2021
10                      SUMMARY: THE CONTACT OWNS A 2018 NISSAN
                        ALTIMA. THE CONTACT STATED THAT WHILE
11                      DRIVING APPROXIMATELY 50 MPH, THE VEHICLE
                        SUDDENLY LOST MOTIVE POWER WITHOUT
12                      WARNING. THE CONTACT COASTED TO THE SIDE
                        OF THE ROAD AND WAS UNABLE TO RESTART
13                      THE VEHICLE. THE VEHICLE WAS TOWED TO THE
                        DEALER WHO DIAGNOSED THAT THE
14                      TRANSMISSION FAILED AND NEEDED TO BE
                        REPAIRED. THE VEHICLE HAD NOT BEEN
15                      REPAIRED. THE MANUFACTURER WAS MADE
                        AWARE OF THE FAILURE AND OPENED A CASE.
16                      THE APPROXIMATE FAILURE MILEAGE WAS
                        69,000.
17
           54.        The following complaints regarding the 2018 and 2019 Sentra made
18
     to NHTSA online demonstrate that the defect is widespread and dangerous and
19
     that it manifests without warning. The complaints also indicate Nissan’s
20
     awareness of the problems with the CVT and Defect, including how dangerous
21
     they are for drivers. These safety complaints relate to the CVT Defect (spelling
22
     and grammar mistakes remain as found in the original). (NHTSA, Consumer
23
     Complaints; https://www.nhtsa.gov/vehicle/2018/NISSAN/SENTRA
24
     (complaints);
25
     https://www.nhtsa.gov/vehicle/2019/NISSAN/SENTRA%252520SR%252520T
26
     URBO/4%252520DR/FWD:
27   2018 NISSAN SENTRA NHTSA POWER TRAIN COMPLAINTS
28               a.     DATE OF INCIDENT: June 8, 2021
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                   DATE COMPLAINT FILED: July 8, 2021
 1                 NHTSA ID NUMBER: 11423947
                   SUMMARY: WHEN PASSING SOMEONE IT WILL NOT
 2                 GO OVER 80 IT WILL SHIFT DOWN, RPMS WILL JUMP
                   BACK AND FORTH UNTIL IT SHIFTS CORRECTLY AND
 3                 THEN IT WILL ACCELERATE. THIS IS AN ISSUE FOR
                   SEVERAL NISSANS SINCE 2003 THAT THEY WILL NOT
 4                 FIX.
 5           b.    DATE OF INCIDENT: June 1, 2021
                   DATE COMPLAINT FILED: June 14, 2021
 6                 NHTSA ID NUMBER: 11420918
                   SUMMARY: MY SENTRA AT AROUND 75MPH
 7                 STARTS SHIFTING BACK AND FORTH ABNORMALLY
                   BETWEEN GEARS. THE ONLY THING THAT RELEASES
 8                 IT IS LETTING GO OF GAS, FORCING TO DROP SPEED,
                   WHICH ALSO FORCES A SHIFT TO HIGHER GEAR.
 9                 YOU FEEL A JERK WHEN IT'S JUMPING GEARS, BUT
                   THE RPM ARROW ALSO JERKS BETWEEN, STARTED
10                 AROUND 30K MILES AND GETTING WORSE.
11           c.    DATE OF INCIDENT: April 24, 2021
                   DATE COMPLAINT FILED: May 11, 2021
12                 NHTSA ID NUMBER: 11416184
                   SUMMARY: TL* THE CONTACT OWNS A 2018 NISSAN
13                 SENTRA. THE CONTACT STATED WHILE DRIVING 80
                   MPH, THE VEHICLE FAILED TO PERFORM AS
14                 NEEDED. THERE WAS NO WARNING LIGHT
                   ILLUMINATED. THE DRIVER AVOIDED A NEAR
15                 CRASH. THE VEHICLE COASTED ONTO THE
                   SHOULDER OF THE ROADWAY. THE VEHICLE WAS
16                 THEN TOWED TO UNITED NISSAN IMPERIAL (2361
                   HWY 86, IMPERIAL, CA 92251, (760) 352-2900) TO BE
17                 DIAGNOSED. THE CONTACT WAS INFORMED THAT
                   THE TRANSMISSION FAILED AND NEEDED TO BE
18                 REPLACED. THE VEHICLE WAS NOT YET REPAIRED.
                   THE MANUFACTURER WAS CONTACTED AND
19                 INFORMED OF THE FAILURE. THE APPROXIMATE
                   FAILURE MILEAGE WAS 118,000.
20
             d.    DATE OF INCIDENT: April 30, 2021
21                 DATE COMPLAINT FILED: May 3, 2021
                   NHTSA ID NUMBER: 11415028
22                 SUMMARY: TL* THE CONTACT OWNS A 2018 NISSAN
                   SENTRA. THE CONTACT STATED THAT WHILE
23                 PARKED, THE GEAR SHIFTER FAILED TO SHIFT INTO
                   DRIVE OR ANY OTHER GEARS. THE VEHICLE WAS
24                 NOT YET DIAGNOSED NOR REPAIRED. THE DEALER
                   AND MANUFACTURER WERE NOT MADE AWARE OF
25                 THE FAILURE. THE FAILURE MILEAGE WAS 71,000
26           e.    DATE OF INCIDENT: January 6, 2021
                   DATE COMPLAINT FILED: January 27, 2021
27                 NHTSA ID NUMBER: 11390273
                   SUMMARY: I PURCHASED A NISSAN SENTRA BACK
28                 IN JUNE 2020 SO I HAVEN'T HAD IT VERY LONG. IT
                                         Page 18
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                   HAD ROUGHLY ABOUT 52K MILES WHEN I
 1                 PURCHASED IT AND I PURCHASE IT BECAUSE MY
                   FAMILY HAS HAD INFINITI'S AND NISSAN AND MY
 2                 DAD WORKS FOR AN INFINITI DEALERSHIP. ALL OF
                   OUR VEHICLES HAVE BEEN VERY RELIABLE. SO
 3                 WHY WOULD THIS ONE BE ANY DIFFERENT. I
                   RECENTLY HAD AN ISSUE DRIVING THIS VEHICLE
 4                 WHERE IT JUST STARTED THIS WEIRD JUTTER OR
                   VIBRATION AND THEN THERE WAS LOSE OF
 5                 POWER/HESITATION AND WOULDN'T GO PAST 45 TO
                   50 MPH. I LIVE ABOUT 71 MILES AWAY FROM WORK
 6                 AND HAD A HARD TIME GETTING IT TO WORK.
                   AFTER GETTING OFF WORK I DROPPED MY CAR OFF
 7                 BY THE CLOSEST NISSAN DEALER TO FIND OUT
                   WHAT WAS GOING ON WITH MY CAR. THE SERVICE
 8                 ADVISOR CALLED ME BACK TO SAY THAT MY
                   TRANSMISSION WAS DONE AND THAT I NEEDED A
 9                 NEW ONE. I THEN FOUND OUT THAT THE EXTENDED
                   WARRANTY THAT I PURCHASED FROM THE DEALER
10                 EXPIRED ALREADY AND THAT I WOULD HAVE TO
                   PAY FOR A TRANSMISSION IN A CAR THAT I JUST
11                 BOUGHT LESS THAN A YEAR AGO. AFTER FURTHER
                   RESEARCH I FOUND WHERE NISSAN HAS A REALLY
12                 BAD ISSUE WITH THEIR CVT TRANSMISSIONS AND
                   THAT THERE WAS A RECALL ON THEM. WHEN I
13                 ASKED NISSAN DEALER ABOUT IT THEY SAID THAT
                   IT ONLY COVERS UP TO 2017 NISSAN SENTRA. MY
14                 DAD DID SOME RESEARCH AND FOUND THAT THERE
                   IS A SERVICE BULLETIN REFERENCE (NTB20-035A)
15                 FOR 2018-2019 NISSAN SENTRA; CVT JUDDER. WHEN
                   WE CONTACTED NISSAN CONSUMER AFFAIRS FOR
16                 ASSISTANCE THEY SAID THAT MY CAR WASN'T
                   INCLUDED IN THIS, AND THAT THEY WOULDN'T
17                 COVER ANYTHING. NISSANS SERVICE BULLETIN
                   SAYS THAT IF ANY OF SEVERAL CODES POPPED UP
18                 WHILE DIAGNOSING THE VEHICLE (P2859) REPLACE
                   THE CVT TRANSMISSION. THIS IS MY FIRST VEHICLE
19                 PURCHASE ON MY OWN, I'M 23, AND I STILL HAVE
                   TO MAKE THE PAYMENTS ON THIS CAR. I WAS
20                 QUOTED A TRANSMISSION REPAIR COST OF 4K TO
                   5K. NISSAN SHOULD BE RESPONSIBLE FOR THIS
21                 ISSUE BEING THAT THEY KNOW OF THE PROBLEM.
                   ANY HELP ON THIS IS GREATLY APPRECIATED.
22
             f.    DATE OF INCIDENT: October 12, 2020
23                 DATE COMPLAINT FILED: October 12, 2020
                   NHTSA ID NUMBER: 11363959
24                 SUMMARY: AFTER 37,122 MILES THE
                   TRANSMISSION ON MY 2018 NISSAN SENTRA WENT
25                 BAD ON ME. I TOOK IT TO THE DEALERSHIP AND
                   THEY INFORMED ME THAT THE ENTIRE
26                 TRANSMISSION NEEDED TO BE REPLACED. THE
                   DEALERSHIP ALSO SAID THE FUEL PUMP AND
27                 CLUSTER NEEDED TO BE REPLACED. I READ THAT
                   THERE HAVE BEEN OTHER COMPLAINTS MADE
28                 ABOUT THE TRANSMISSION SYSTEM FOR THESE
                                         Page 19
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                   CARS, AND THERE SHOULD DEFINITELY BE A
 1                 RECALL.
 2           g.    DATE OF INCIDENT: March 9, 2019
                   DATE COMPLAINT FILED: August 17, 2020
 3                 NHTSA ID NUMBER: 11349933
                   SUMMARY: RPMS ARE GOING UP AND DOWN WHEN
 4                 MAINTAINING THE SAME SPEED . WE TOOK IT BACK
                   TO THE DEALERSHIP AT 9000 MILES AND THEY TOLD
 5                 US IT'S A SPECIAL TRANSMISSION.BELT DRIVEN NOT
                   GEAR DRIVEN. WE TOOK IT BACK A FEW MORE
 6                 TIMES AND FINALLY WE TOOK IT TO MIDAS AND
                   THEY TOLD US TO TAKE IT TO DEALERSHIP FOR THE
 7                 TRANSMISSION PROBLEM AFTER THEY DROVE IT
                   AND NOTICED RPMS GOING UP AND DOW
 8
             h.    DATE OF INCIDENT: March 16, 2020
 9                 DATE COMPLAINT FILED: March 17, 2020
                   NHTSA ID NUMBER: 11318508
10                 SUMMARY: STOPPED GOING FORWARD WHEN AT
                   TRAFFIC LIGHT WILL ONLY GO IN REVERSE.
11                 DEALERSHIP SAYS WARRANTY IS UP AND IT WILL
                   COST 4000$ TO FIX. I AM CONFUSED AS TO HOW A
12                 CAR THAT WAS BOUGHT 4/20/2018 HAS THE NEED
                   FOR THE TRANSMISSIOM TO BE REPLACED. THIS
13                 CAR HAS HAD REGULAR MAINTENANCE AND I DO
                   NOT BELIEVE AFTER PAYING 479.09 A MONTH FOR
14                 THE PAST 23 MONTHS I SHOULD BE SPENDING AN
                   ADDITIONAL 4000$
15
             i.    DATE OF INCIDENT: January 25, 2020
16                 DATE COMPLAINT FILED: January 28, 2020
                   NHTSA ID NUMBER: 11302489
17                 SUMMARY: THE TRANSMISSION IS GOING OUT I
                   WAS ONLY ABLE TO USE REVERSE, MY CAR HAS
18                 46000 MILES I HAVE NEVER BEEN LATE ON
                   CHANGING MY OIL AND GETTING THE CAR
19                 SERVICED, WOULD NOT RECOMMEND BUYING A
                   SENTRA
20
             j.    DATE OF INCIDENT: December 13, 2018
21                 DATE COMPLAINT FILED: December 2, 2019
                   NHTSA ID NUMBER: 11286331
22                 SUMMARY: TRANSMISSION OVER HEATS.
                   TRANSMISSION HAS A LOUD NOISE AND DRAGS
23                 SINCE 60,000 MILES
24           k.    DATE OF INCIDENT: October 12, 2020
                   NHTSA ID NUMBER: 11363959
25                 SUMMARY: AFTER 37,122 MILES THE
                   TRANSMISSION ON MY 2018 NISSAN SENTRA WENT
26                 BAD ON ME. I TOOK IT TO THE DEALERSHIP AND
                   THEY INFORMED ME THAT THE ENTIRE
27                 TRANSMISSION NEEDED TO BE REPLACED. THE
                   DEALERSHIP ALSO SAID THE FUEL PUMP AND
28                 CLUSTER NEEDED TO BE REPLACED. I READ THAT
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                   THERE HAVE BEEN OTHER COMPLAINTS MADE
 1                 ABOUT THE TRANSMISSION SYSTEM FOR THESE
                   CARS, AND THERE SHOULD DEFINITELY BE A
 2                 RECALL.
 3           l.    DATE OF INCIDENT: October 18, 2021
                   NHTSA ID NUMBER: 11437135
 4                 SUMMARY: I HAVE A CVT TRANSMISSION AND
                   SOMETIMES IT’S HARD FOR ME TO EVEN START TO
 5                 MOVE MY VEHICLE BECAUSE OF THIS SPUTTERING.
                   I’VE SEEN SO MANY COMPLAINTS ON THIS CVT AND
 6                 IT’S REALLY STARTING TO HINDER ME FROM
                   GETTING BACK AND FORTH.
 7
 8   2019 NISSAN SENTRA NHTSA POWER TRAIN COMPLAINTS
 9           a.    DATE OF INCIDENT: January 21, 2021
                   NHTSA ID NUMBER: 11433401
10                 SUMMARY: THE CONTACT OWNS A 2019 NISSAN
                   SENTRA. THE CONTACT STATED WHILE DRIVING 45
11                 MPH AND DEPRESSING ON THE ACCELERATOR
                   PEDAL, THE VEHICLE WOULD NOT FULLY
12                 ACCELERATE AS DESIRED. THERE WAS AN
                   UNKNOWN WARNING LIGHT ILLUMINATED. THE
13                 CONTACT ACTIVATED THE HAZARD LIGHTS AND
                   PULLED THE VEHICLE OVER TO THE SIDE OF THE
14                 ROAD. THE CONTACT WAITED A FEW MINUTES AND
                   RESTARTED THE VEHICLE AND WAS ABLE TO
15                 CONTINUE TO DRIVE TO HER RESIDENCE. THE
                   CONTACT TOOK THE VEHICLE TO AN INDEPENDENT
16                 MECHANIC WHO DIAGNOSED THE VEHICLE WITH A
                   MAJOR TRANSMISSION FAILURE. THE CONTACT
17                 TOOK THE VEHICLE TO THE LOCAL DEALER AND IT
                   WAS AGREED THAT THE TRANSMISSION WAS
18                 FAULTY. THE CONTACT WAS INFORMED THAT THE
                   MECHANIC COULD NOT REPAIR THE VEHICLE
19                 BECAUSE THEY COULD NOT FIND THE CODING FOR
                   THE REPAIR IN THEIR SYSTEM. THE VEHICLE WAS
20                 NOT REPAIRED. THE MANUFACTURER WAS NOT
                   MADE AWARE OF THE FAILURE. THE FAILURE
21                 MILEAGE WAS APPROXIMATELY 35,901.
22           b.    DATE OF INCIDENT: June 12, 2021
                   NHTSA ID NUMBER: 11420674
23                 SUMMARY: WHEN I TRY TO GET A QUICK
                   ACCELERATION IT DOESN'T WANT TO MOVE IT HAS
24                 TROUBLE CLIMBING HILLS LIKE I HAD TO PUT IT TO
                   THE FLOOR TO MAKE HIM GO ANYWHERE AND
25                 SOMETIMES WHEN I'M DRIVING TO RPMS GOES UP IN
                   THE MIDDLE OF DRIVING WITHOUT ME HITTING THE
26                 GAS I ALSO NOTICED SOMETIMES THE BUTTONS ON
                   THE STEERING WHEEL DON'T ALWAYS WORK I
27                 HAVE TO TURN OFF THE CAR AND TURN IT BACK ON
                   KIND OF WORRIED ABOUT THE TRANSMISSION I
28                 HAVE A 2009 NISSAN ALTIMA TRANSMISSION IT'S
                                         Page 21
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                           GOING BAD ON IT BEFORE IT'S TIME SO I'M HOPING
 1                         THIS CAR IS NOT HAVING THE SAME THING
 2               c.        DATE OF INCIDENT: June 6, 2021
                           NHTSA ID NUMBER: 11419850
 3                         SUMMARY: TRANSMISSION SHUDDERS AND LOSES
                           POWER WHEN NEEDING TO QUICKLY ACCELERATE.
 4                         NISSAN HAS PAID ME AN INCONVIENECE FEE
                           BECAUSE ALL OF THEIR 2019 NISSAN SENTRA SR
 5                         MODELS EXPERIENCE THE SAME ISSUE. THIS IS
                           EXTREMELY DANGEROUS! WHEN NEEDING TO GET
 6                         OUT OF A SITUATION QUICKLY, THE VEHICLE
                           SHUDDERS AND HESITATES BEFORE CATCHING A
 7                         GEAR. THIS HAS HAPPENED TO ME IN AN
                           INTERSECTION. SOMEONE RAN A REDLIGHT AND I
 8                         NEED TO MOVE QUICKLY TO AVOID AN ACCIDENT.
                           THE VEHICLE SPUTTERED AND WHEN IT CAUGHT
 9                         IT'S GEAR, ALMOST LURCHED ME INTO ONCOMING
                           TRAFFIC. NISSAN HAS PLACED 7 TRANSMISSIONS IN
10                         MY CAR AND ALL ARE THE SAME. I NEVER TOOK
                           THEIR REPLACEMENT CAR BECAUSE WHEN I DROVE
11                         TWO OTHER OF THE SAME MODELS OF MY CAR.
                           THEY DID THE SAME THING! NISSAN NEEDS TO BE
12                         HELD ACCOUNTABLE AND FIND A WAY TO FIX THE
                           TRANSMISSION SO IT DOES NOT DO THIS SHUDDER
13                         ANYMORE. I'VE SEEN MANY CONSUMER REVIEWS
                           THAT STATE THE SAME PROBLEM. I FEEL THIS IS
14                         WIDESPREAD ENOUGH AND A BIG ENOUGH SAFETY
                           DEFECT THAT NISSAN NEEDS TO FIX BEFORE IT
15                         KILLS SOMEONE BECAUSE THEY CAN MOVE OUT OF
                           THE WAY IN TIME.
16
17   Customer Complaints on Third-Party Websites1
18         55.        Consumers similarly complained about the defect on various online
19   forums. Below are just some examples:
20                    a.     September 13, 2018: My 2013 Altima rides like a dream over
                             40 mph! Don't drive local , as coming up on 40mph the car
21                           shakes and shutters. Esp if turning! Passengers have asked me
                             WTF is wrong with my car! It have a CVT, and I understand
22                           there are a lot of complaints about this issue.
                             https://www.carcomplaints.com/Nissan/Altima/2013/transmis
23                           sion/CVT_shuttering_vibration_hesitation_running_roughly.s
                             html
24
                      b.     May 1, 2017: I bought a brand new Nissan Altima in 2014
25                           from the local Nissan dealership . . . . I feel my Nissan is
26
           1
             Complaints referencing earlier model years to the Class Vehicles are
27   included because, on information and belief, those model years are equipped
     with the same Xtronic CVT transmission and suffer from the same design and/or
28   manufacturing defect.
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                      jerking a little once a while. Now it's happening 3 or 4 times a
 1                    day.
 2                    ....
 3                    Last Sunday heading back home from Orange County my
                      Nissan STALLED in the middle of the freeway during heavy
 4                    rain. It took 3 hours to get back home with AAA tow truck
                      towing my Nissan.
 5
                      ....
 6
                      the service dept told me that that happens a lot to 2014 Nissan
 7                    Altima & I am not the first ANGRY OWNER they are facing.
                      https://www.carcomplaints.com/Nissan/Altima/2014/transmis
 8                    sion/shudders_and_jerks.shtml
 9              c.    February 1, 2017: Brand new 2016 Nissan Altima purchased
                      end of November. No vibration or shuddering until beginning
10                    of Feb 2017. Have had it at two different Nissan dealerships
                      and they agree they feel the vibration and shudder but state
11                    there is nothing wrong with vehicle and that it's normal even
                      though it didn't do it the first 2 months or so. They state that it
12                    is the CVT.
                      https://www.carcomplaints.com/Nissan/Altima/2016/transmis
13                    sion/vibration_in_transmission.shtml
14              d.    July 12, 2021: Bought a 2017 Nissan Altima that only had
                      17,000 miles on it. Owned the car for 2 years with no issues
15                    and kept up on all of the maintenance. One day my check
                      engine light comes on and my car starts acting like it doesn’t
16                    want to move forward. I take it to the dealership and the code
                      that comes back is for the transmission and it says “total
17                    failure” and it’s going to cost me $4300 to fix. The car only
                      had 73,000 miles on it at this point and is only 4 years old.
18                    How in the world does it already need a new transmission?
                      https://www.consumeraffairs.com/automotive/nissan_altima.h
19                    tml
20              e.    July 2, 2021: My Nissan Altima CVT failed at 65K miles. If
                      you are familiar with the quality of Nissan, that shouldn't be a
21                    surprise. I took my car to Nissan in June 2021 because the
                      CVT failed in November of 2020 during the pandemic with
22                    only 65K miles. While the car was 19K miles under the
                      mileage limit for warranty coverage, Nissan refused to cover
23                    any of the expense because the time limit expired December
                      2020. I reminded Nissan that the end of 2020 was during the
24                    height of the pandemic when vaccines didn’t exist, COVID
                      was spreading uncontrollably and CDC guidelines advised
25                    people not to leave home except in an emergency. So I waited
                      until I could get vaccinated and safely take the car for repair.
26                    https://www.consumeraffairs.com/automotive/nissan_altima.h
                      htm
27
                f.    February 4, 2017: There is no excuse for a transmission to
28                    need replacing @ 70,800 miles... NONE. Nissan has a huge
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                        problem and will not stand behind it. My car still looks brand
 1                      new and did drive that way until last week. No warnings just
                        all of a sudden sitting at a traffic light it shut off on me and
 2                      has never been the same. Found out today that the
                        transmission needs replacing... $3,300 out my pocket because
 3                      @ 60,000 miles there is no more warranty! PLEASE, if you
                        are reading this, do NOT buy a Nissan product. There are tons
 4                      of reviews and posts in numerous places of people having the
                        same problem that I have and guess what... No recall from
 5                      Nissan to stand behind their faulty product.
                        https://www.consumeraffairs.com/automotive/nissan_altima.h
 6                      tml?page=27#sort=oldest&filter=none
 7
     Nissan Had Superior and Exclusive Knowledge of the CVT Defect
 8
           56. Nissan had superior and exclusive knowledge of the CVT
 9
     Defect and knew or should have known that the defect was not known or
10
     reasonably discoverable by Plaintiff and Class Members before they purchased
11
     or leased the Class Vehicles.
12
           57.    Plaintiff is informed and believes and based thereon alleges that
13
     before she purchased her Class Vehicle, and since 2013, Nissan knew about the
14
     CVT Defect through sources in its exclusive and/or superior knowledge,
15
     including pre-release testing data, early consumer complaints to Nissan and its
16
     dealers who are their agents for vehicle repairs, consumer complaints regarding
17
     earlier model years with the same CVT equipped, testing conducted in response
18
     to those complaints, high failure rates and replacement part sales data, consumer
19
     complaints to NHTSA (which Nissan monitors), by developing technical service
20
     bulletins in an effort to address the CVT Defect, and through other aggregate
21
     data from Nissan dealers about the problem.
22
           58.    Nissan is experienced in the design and manufacture of consumer
23
     vehicles. As an experienced manufacturer, Nissan conducts tests, including pre-
24
     sale durability testing, on incoming components, including the CVT, to verify
25
     the parts are free from defect and align with Nissan’s specifications. Thus,
26
     Nissan knew or should have known the CVT was defective and prone to put
27
     drivers in a dangerous position due to the inherent risk of the defect.
28
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 1         59.    Additionally, on information and belief, Nissan knew of the impact
 2   of this defect from the sheer number of reports received from dealerships.
 3   Nissan’s customer relations department, which interacts with individual
 4   dealerships to identify potential common defects, has received numerous reports
 5   regarding the defect, which led to the release of the TSBs. Nissan’s customer
 6   relations department also collects and analyzes field data including, but not
 7   limited to, repair requests made at dealerships, technical reports prepared by
 8   engineers who have reviewed vehicles for which warranty coverage is being
 9   requested, parts sales reports, and warranty claims data.
10         60.    Nissan’s warranty department similarly analyzes and collects data
11   submitted by its dealerships to identify trends in its vehicles. It is Nissan’s policy
12   that when a repair is made under warranty the dealership must provide Nissan
13   with detailed documentation of the problem and the fix employed to correct it.
14   Dealerships have an incentive to provide detailed information to Nissan, because
15   they will be reimbursed for any repairs if the justification is sufficiently detailed.
16         61.    In fact, James (“Jim”) Blenkarn, Nissan’s Senior Manager, Systems
17   Quality Improvement, has publicly confirmed Plaintiff’ allegations. Mr.
18   Blenkarn, in response to a question “On how Nissan monitors quality after a
19   vehicle is launched” stated: “For the first six months, sometimes longer, of every
20   new product, we have a team that focuses strictly on the product and examines
21   every claim that comes in for that vehicle model. Our engineers have to target
22   reporting something if it is a 0.5 incident rate. That’s our threshold.”2
23         62.    On April 27, 2017, Nissan issued TSB NTB17-039 for the class
24   vehicles. The TSB was issued to address “CVT Judder and DTC P17F0 or P17F1
25
26         2
             5 Minutes with… Jim Blenkarn, senior manager, systems quality
     improvement, Nissan North America” Richard Truett, April 16, 2018
27   Automotive News.
     http://www.autonews.com/article/20180416/RETAIL05/180419990/5-minutes-
28   withjimblenkarn-senior-manager-systems-quality
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 1   Stored.” Specifically, the TSB was issued to correct “transmission judder (shake,
 2   shudder, single or multiple bumps or vibration).” The repair procedure provided
 3   was replacing the CVT control valve, replacing the CVT sub-assembly, and/or
 4   reprogramming the TCM. On information and belief, the problem persisted, and
 5   this TSB was superseded numerous times, on May 2, 2017, June 29, 2017,
 6   October 12, 2017, October 26, 2017, March 5, 2018, March 14, 2018, October 8,
 7   2018, March 11, 2020, March 25, 2020, September 30, 2020, December 23,
 8   2020, and, most recently, February 19, 2021, with TSB NTB17-039m. These
 9   revised TSBs addressed the same concerns but expanded the vehicles affected
10   and added reprogramming.
11         63.    On information and belief, each TSB issued by Nissan was
12   approved by manager, directors, and/or executives at Nissan. Therefore, on
13   information and belief, Nissan’s managers, directors, and/or executives knew, or
14   should have known, about the CVT Defect, but refused to disclose the CVT
15   Defect to prospective purchaser and owners, and/or actively concealed the CVT
16   Defect.
17         64.    Additionally, Nissan had superior knowledge and knew of the CVT
18   Defect’s impact on Plaintiff and the Class due to previously settled litigation
19   concerning the very same transmission and the very same defect, as contained in
20   2013-2016 Nissan Altima vehicles. See Gann v. Nissan North America, Inc.,
21   3:18CV00966, U.S. District Court for the Middle District of Tennessee,
22   complaint filed September 25, 2018.
23         65.    As part of the settlement reached in the Gann litigation, Nissan
24   issued an extended warranty, on May 11, 2020, entitled: Campaign Bulletin,
25   CVT Warranty Extension. This warranty extension covers 2013 to 2016 Nissan
26   Altimas with the same CVT transmission and defect as the Class Vehicles and
27   “includes the CVT assembly and internal CVT components, gaskets, and seals,
28   CVT control valve body, torque converter, cooler kit (if applicable) and
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 1   reprogramming of the Transmission Control Module (TCM), on the vehicles
 2   listed in this announcement from its original duration of 60 months/60,000 miles
 3   to 84 months/84,000 miles (whichever occurs first).”
 4         66.    The existence of the CVT Defect is a material fact that a reasonable
 5   consumer would consider when deciding whether to purchase or lease a Class
 6   Vehicle. Had Plaintiff and other Class Members known that the Class Vehicles
 7   were equipped with transmissions subject to premature failure, they would have
 8   paid less for the Class Vehicles or would not have purchased or leased them.
 9         67.    Reasonable consumers, like Plaintiff, reasonably expect that a
10   vehicle’s transmission is safe, will function in a manner that will not pose a
11   safety risk, and is free from defects. Plaintiff and Class Members further
12   reasonably expect that Nissan will not sell or lease vehicles with known safety
13   defects, such as the CVT Defect, and will disclose any such defects to its
14   consumers when it learns of them. They did not expect Nissan to fail to disclose
15   the CVT Defect to them and to continually deny it.
16   Nissan Has Actively Concealed the CVT Defect
17         68.    Despite its knowledge of the CVT Defect in the Class Vehicles,
18   Nissan actively concealed the existence and nature of the defect from Plaintiff
19   and Class Members. Specifically, Nissan failed to disclose or actively concealed
20   at and after the time of purchase, lease, or repair:
21                a.     all known material defects or material nonconformity of the
22                       Class Vehicles, including the defects pertaining to the CVT;
23                b.     that the Class Vehicles, including the CVT, were not in good
24                       working order, were defective, and were not fit for their
25                       intended purposes; and
26                c.     that the Class Vehicles and the CVT were defective, despite
27                       Nissan learning of such defects as early as 2013.
28         69.    When consumers present their Class Vehicles to an authorized
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 1   Nissan dealer for CVT repairs, rather than repair the problem under warranty,
 2   Nissan dealers either inform consumers that their vehicles are functioning
 3   properly or conduct repairs that merely mask the CVT Defect.
 4          70.     Nissan has caused Plaintiff and Class Members to expend money
 5   and/or time at its dealerships to diagnose, repair or replace the Class Vehicles’
 6   CVT and/or related components, despite Nissan’s knowledge of the CVT Defect.
 7   Nissan Has Unjustly Retained a Substantial Benefit
 8          71.     On information and belief, Plaintiff alleges that Nissan unlawfully
 9   failed to disclose the alleged defect to induce her and other putative Class
10   Members to purchase or lease the Class Vehicles.
11          72.     Plaintiff alleges further that Nissan thus engaged in deceptive acts or
12   practices pertaining to all transactions involving the Class Vehicles, including
13   Plaintiff’s.
14          73.     As discussed above, therefore, Plaintiff alleges that Nissan
15   unlawfully induced her to purchase her Class Vehicle by concealing a material
16   fact (the defective CVT) and that she would have paid less for the Class
17   Vehicles, or not purchased them at all, had she known of the defect.
18          74.     Accordingly, Nissan’s ill-gotten gains, benefits accrued in the form
19   of increased sales and profits resulting from the material omissions that did - and
20   likely will continue to - deceive consumers, should be disgorged.
21                           CLASS ACTION ALLEGATIONS
22          75.     Plaintiff brings this lawsuit as a class action on behalf of herself and
23   all others similarly situated as members of the proposed Class pursuant to
24   Federal Rules of Civil Procedure 23(a) and 23(b)(3). This action satisfies the
25   numerosity, commonality, typicality, adequacy, predominance, and superiority
26   requirements of those provisions.
27          76.     The Class and Sub-Class are defined as:
28                  Class: All individuals in the United States who
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                     purchased or leased any 2017-2018 Nissan Altima or
 1                   Sentra equipped with a CVT (the “Nationwide Class” or
                     “Class”).
 2
                     Nevada Sub-Class: All members of the Nationwide
 3                   Class who purchased or leased their Class Vehicles in
                     the State of Nevada.
 4
 5         77.       Excluded from the Class and Sub-Classes are: (1) Nissan, any entity
 6   or division in which Nissan has a controlling interest, and their legal
 7   representatives, officers, directors, assigns, and successors; (2) the Judge to
 8   whom this case is assigned and the Judge’s staff; (3) any Judge sitting in the
 9   presiding state and/or federal court system who may hear an appeal of any
10   judgment entered; and (4) those persons who have suffered personal injuries as a
11   result of the facts alleged herein. Plaintiff reserves the right to amend the Class
12   and Sub-Class definitions if discovery and further investigation reveal that the
13   Class and Sub-Class should be expanded or otherwise modified.
14         78.       Numerosity: Although the exact number of Class Members is
15   uncertain and can only be ascertained through appropriate discovery, the number
16   is great enough such that joinder is impracticable. The disposition of the claims
17   of these Class Members in a single action will provide substantial benefits to all
18   parties and to the Court. The Class Members are readily identifiable from
19   information and records in Nissan’s possession, custody, or control, as well as
20   from records kept by the Department of Motor Vehicles.
21         79.       Typicality: Plaintiff’s claims are typical of the claims of the Class in
22   that Plaintiff, like all Class Members, purchased or leased a Class Vehicle
23   designed, manufactured, and distributed by Nissan. The representative Plaintiff,
24   like all Class Members, has been damaged by Nissan’s misconduct in that she
25   has incurred or will incur the cost of repairing or replacing the defective CVT
26   and/or its components. Furthermore, the factual bases of Nissan’s misconduct are
27   common to all Class Members and represent a common thread resulting in injury
28   to the Class.
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 1         80.    Commonality: There are numerous questions of law and fact
 2   common to Plaintiff and the Class that predominate over any question affecting
 3   Class Members individually. These common legal and factual issues include the
 4   following:
 5                a.   Whether Class Vehicles suffer from defects relating to the
 6                     CVT;
 7                b.   Whether the defects relating to the CVT constitute an
 8                     unreasonable safety risk;
 9                c.   Whether Nissan knows about the defects pertaining to the
10                     CVT and, if so, how long Nissan has known of the defect;
11
                  d.   Whether the defective nature of the CVT constitutes a
12
                       material fact;
13
                  e.   Whether Nissan has a duty to disclose the defective nature of
14
                       the CVT to Plaintiff and Class Members;
15
                  f.   Whether Plaintiff and the other Class Members are entitled to
16
                       equitable relief, including a preliminary and/or permanent
17
                       injunction;
18
                  g.   Whether Nissan knew or reasonably should have known of
19
                       the defects pertaining to the CVT before it sold and leased
20
                       Class Vehicles to Class Members;
21
                  h.   Whether Nissan should be declared financially responsible for
22
                       notifying the Class Members of problems with the Class
23
                       Vehicles and for the costs and expenses of repairing and
24
                       replacing the defective CVT and/or its components;
25
                  i.   Whether Nissan is obligated to inform Class Members of their
26
                       right to seek reimbursement for having paid to diagnose,
27
                       repair, or replace their defective CVT and/or its components;
28
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 1                      and
 2         81.    Adequate Representation: Plaintiff will fairly and adequately protect
 3   the interests of the Class Members. Plaintiff has retained attorneys experienced
 4   in the prosecution of class actions, including consumer and product defect class
 5   actions involving cars, and they intend to prosecute this action vigorously.
 6         82.    Predominance and Superiority: Plaintiff and Class Members have all
 7   suffered and will continue to suffer harm and damages as a result of Nissan’s
 8   unlawful and wrongful conduct. A class action is superior to other available
 9   methods for the fair and efficient adjudication of the controversy. Absent a class
10   action, most Class Members would likely find the cost of litigating their claims
11   prohibitively high and would therefore have no effective remedy. Because of the
12   relatively small size of the individual Class Members’ claims, it is likely that
13   only a few Class Members could afford to seek legal redress for Nissan’s
14   misconduct. Absent a class action, Class Members will continue to incur
15   damages, and Nissan’s misconduct will continue without remedy or relief. Class
16   treatment of common questions of law and fact would also be a superior method
17   to multiple individual actions or piecemeal litigation in that it will conserve the
18   resources of the courts and the litigants and promote consistency and efficiency
19   of adjudication.
20                            FIRST CAUSE OF ACTION
                             (Breach of Express Warranty)
21    On Behalf of the Nationwide Class and, in the alternative, the Nevada Sub-Class
22         83.    Plaintiff incorporates by reference the allegations contained in the
23   above paragraphs as though fully set forth herein.
24         84.    Plaintiff brings this cause of action on behalf of herself and the
25   Class, or, in the alternative, on behalf of the Nevada Sub-Classes.
26         85.    Each class vehicle sold by Nissan included an express warranty that
27   covered the transmission and warranted that Nissan would repair or replace any
28   defects in materials and workmanship in the class vehicles.
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 1         86.     Nissan provided all purchasers and lessees of the class vehicles with
 2   a written warranty that “begins on the date the vehicle is delivered to the first
 3   retail buyer or put in use, whichever is earlier.” Under the warranty’s powertrain
 4   coverage, Nissan expressly warranted that the warranty “covers any repairs
 5   needed to correct defects in materials or workmanship.” The warranty’s
 6   powertrain coverage covers the vehicles for 60 months or 60,000 miles,
 7   whichever comes first. Nissan promised to cover listed powertrain components
 8   under is warranty, including the transmission components such as the
 9   “[t]ransmission and [t]ransaxle [c]ase and all internal parts, torque converter and
10   converter housing, automatic transmission control module, transfer case and all
11   internal parts, seals and gaskets, clutch cover, A/T cooler, and electronic
12   transmission controls.”
13         87.     As a result of Nissan’s breach of the applicable express warranties,
14   owners and/or lessees of the Class Vehicles suffered an ascertainable loss of
15   money, property, and/or value of their Class Vehicles. Additionally, as a result of
16   the CVT Defect, Plaintiff and Class Members were harmed and suffered actual
17   damages in that the Class Vehicles’ transmissions are substantially certain to fail
18   before their expected useful life has run.
19         88.     Nissan provided all purchasers and lessees of the Class Vehicles
20   with the express warranty described herein, which became a material part of the
21   bargain. Accordingly, Nissan’s express warranty is an express warranty under
22   Nevada law.
23         89.     Nissan manufactured and/or installed the transmission and its
24   component parts in the Class Vehicles, and the transmission and its component
25   parts are covered by the express warranty.
26         90.     Nissan provided all purchasers and lessees of the Class Vehicles
27   with a New Vehicle Basic Limited Warranty for three (3) years and 36,000
28   miles, and a Powertrain Warranty for five (5) years and 60,000 miles.
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 1         91.    On information and belief, Nissan breached the express warranty by
 2   purporting to repair the transmission and its component parts by replacing the
 3   defective or damaged transmission components with the same defective
 4   components and/or instituting temporary fixes, on information and belief, to
 5   ensure that the CVT Defect manifests outside of the Class Vehicles’ express
 6   warranty period.
 7         92.    Plaintiff gave Nissan notice of its breach by presenting her vehicle
 8   to Nissan dealerships for repairs that were not made.
 9         93.    However, Plaintiff was not required to notify Nissan of the breach
10   and/or was not required to do so because affording Nissan a reasonable
11   opportunity to cure its breach of written warranty would have been futile. Nissan
12   was also on notice of the defect from the complaints and service requests it
13   received from Class Members, from repairs and/or replacements of the
14   transmission or a component thereof, and through other internal sources.
15         94.    As a direct and proximate cause of Nissan’s breach, Plaintiff and
16   Class Members suffered, and continue to suffer, damages, including economic
17   damages at the point of sale or lease. Additionally, Plaintiff and Class Members
18   either have incurred or will incur economic damages at the point of repair in the
19   form of the cost of repair.
20         95.    Additionally, Nissan breached the express warranty by performing
21   illusory repairs. Rather than repairing the vehicles pursuant to the express
22   warranty, Nissan falsely informed class members that there was no problem with
23   their vehicle, performed ineffective software flashes, or replaced defective
24   components in the CVT Transmissions with equally defective components,
25   without actually repairing the vehicles.
26         96.    Plaintiff and Class Members are entitled to legal and equitable relief
27   against Nissan, including actual damages, consequential damages, specific
28   performance, attorneys’ fees, costs of suit, and other relief as appropriate.
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                            SECOND CAUSE OF ACTION
 1     (Violation of the Nevada Deceptive Trade Practices Act, Nev. Rev. Stat. §
                                  598.0903, et seq.)
 2                         On Behalf of the Nevada Sub-Class
 3
           97.    Plaintiff incorporates by reference the allegations contained in the
 4
     above paragraphs as though fully set forth herein.
 5
           98.    Plaintiff Minerva Martinez brings this cause of action on behalf of
 6
     herself and on behalf of the members of the Nevada Sub-Class.
 7
           99.    The Nevada Deceptive Trade Practices Act (“Nevada DTPA”), Nev.
 8
     Rev. Stat. § 598.0903, et seq. prohibits deceptive trade practices. Nev. Rev. Stat.
 9
     § 598.0915 provides that a person engages in a “deceptive trade practice” if, in
10
     the course of business or occupation, the person: “5. Knowingly makes a false
11
     representation as to the characteristics, ingredients, uses, benefits, alterations or
12
     quantities of goods or services for sale or lease or a false representation as to the
13
     sponsorship, approval, status, affiliation or connection of a person therewith”;
14
     “7. Represents that goods or services for sale or lease are of a particular standard,
15
     quality or grade, or that such goods are of a particular style or model, if he or she
16
     knows or should know that they are of another standard, quality, grade, style or
17
     model”; “9. Advertises goods or services with intent not to sell or lease them as
18
     advertised”; or “15. Knowingly makes any other false representation in a
19
     transaction.”
20
           100. Defendant’s actions as set forth below occurred in the conduct of
21
     trade or commerce.
22
           101. By failing to disclose and concealing the defective nature of the
23
     CVT from Plaintiff and prospective Class Members, Defendant violated the
24
     Nevada DTPA, as it represented that the Class Vehicles and their transmissions
25
     had characteristics and benefits that they do not have and represented that the
26
     Class Vehicles and their transmissions were of a particular standard, quality, or
27
     grade when they were of another.
28
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 1         102. Defendant’s unfair and deceptive acts or practices occurred
 2   repeatedly in Defendant’s trade or business, were capable of deceiving a
 3   substantial portion of the purchasing public and imposed a serious safety risk on
 4   the public.
 5         103. Defendant knew and continues to know that the Class Vehicles and
 6   their CVTs suffered from an inherent defect, were defectively designed, and
 7   were not suitable for their intended use.
 8         104. Defendant was under a duty to Plaintiff and Class Members to
 9   disclose the defective nature of the CVT and/or the associated repair costs
10   because:
11                 a.   Defendant was in a superior position to know the true state of
12                      facts about the safety defect in the Class Vehicles’ CVT;
13                 b.   Plaintiff and Class Members could not reasonably have been
14                      expected to learn or discover that their CVT had a dangerous
15                      safety defect until it manifested; and
16                 c.   Defendant knew that Plaintiff and Class Members could not
17                      reasonably have been expected to learn of or discover the safety
18                      defect.
19         105. In failing to disclose the defective nature of the CVT, Defendant
20   knowingly and intentionally concealed and continues to conceal material facts
21   and breached its duty not to do so.
22         106. The facts Defendant concealed from or failed to disclose to Plaintiff
23   and Class Members are material in that a reasonable consumer would have
24   considered them to be important in deciding whether to purchase or lease the
25   Class Vehicles or pay less. Had they known that the Class Vehicles’ CVT was
26   defective, Plaintiff and Class Members would not have purchased or leased the
27   Class Vehicles or would have paid less for them.
28         107. Plaintiff and Class Members are reasonable consumers who do not
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 1   expect the transmissions installed in their vehicles to exhibit problems such as
 2   juddering, failure to shift, stalling, and delayed or no acceleration.
 3         108. This is the reasonable and objective consumer expectation relating
 4   to vehicle transmissions.
 5         109. Plaintiff and the Class are entitled to equitable relief.
 6                        THIRD CAUSE OF ACTION
      (Breach of Common Law Implied Warranty of Merchantability and Breach
 7   of Implied Warranty Pursuant to Nev. Rev. Stat. §§ 104.2314 and 104A.2212)
                         On Behalf of the Nevada Sub-Class
 8
 9         110. Plaintiff incorporates by reference the allegations contained in the
10   above paragraphs as though fully set forth herein.
11         111. Plaintiff Minerva Martinez brings this cause of action on behalf of
12   herself and on behalf of the members of the Nevada Sub-Class.
13         112. Defendant was at all relevant times the manufacturer, distributor,
14   warrantor, and/or seller of the Class Vehicles. Defendant knew or had reason to
15   know of the specific use for which the Class Vehicles were purchased or leased.
16         113. Defendant provided Plaintiff and Class Members with an implied
17   warranty that the Class Vehicles and their components and parts are
18   merchantable and fit for the ordinary purposes for which they were sold.
19         114. However, the Class Vehicles are not fit for their ordinary purpose of
20   providing reasonably reliable and safe transportation because, inter alia, the
21   Class Vehicles and their CVTS suffered from an inherent defect at the time of
22   sale and thereafter and are not fit for their particular purpose of providing safe
23   and reliable transportation.
24         115. Defendant impliedly warranted that the Class Vehicles were of
25   merchantable quality and fit for such use. This implied warranty included,
26   among other things: (i) a warranty that the Class Vehicles and their CVTS that
27   were manufactured, supplied, distributed, and/or sold by Nissan were safe and
28   reliable for providing transportation; and (ii) a warranty that the Class Vehicles
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 1   and their CVTs would be fit for their intended use while the Class Vehicles were
 2   being operated.
 3         116. Contrary to the applicable implied warranties, the Class Vehicles
 4   and their CVTS at the time of sale and thereafter were not fit for their ordinary
 5   and intended purpose of providing Plaintiff and Class Members with reliable,
 6   durable, and safe transportation. Instead, the Class Vehicles are defective,
 7   including the defective design of their CVT.
 8         117. The alleged CVT Defect is inherent in each Class Vehicle and was
 9   present in each Class Vehicle at the time of sale.
10         118. As a result of Defendant’s breach of the applicable implied
11   warranties, owners and/or lessees of the Class Vehicles suffered an ascertainable
12   loss of money, property, and/or value of their Class Vehicles. Additionally, as a
13   result of the CVT Defect, Plaintiff and Class Members were harmed and suffered
14   actual damages in that the Class Vehicles’ CVT components are substantially
15   certain to fail before their expected useful life has run.
16         119. Defendant’s actions, as complained of herein, breached the implied
17   warranty that the Class Vehicles were of merchantable quality and fit for such
18   use in violation of Nevada Common Law Implied Warranties and Nevada
19   Revised Statutes §§ 104.2314 and 104A.2212.
20                          FOURTH CAUSE OF ACTION
      (Declaratory Judgment Act, 28 U.S.C. § 2201, et seq. and Fed. R. Civ. P. 57)
21    On Behalf of the Nationwide Class and, in the alternative, the Nevada Sub-Class
22         120. Plaintiff incorporates by reference the allegations contained in the
23   above paragraphs as though fully set forth herein.
24         121. Plaintiff brings this cause of action on behalf of herself and the
25   Class, or, in the alternative, on behalf of the Nevada Sub-Class. Declaratory
26   relief is intended to minimize “the danger of avoidable loss and unnecessary
27   accrual of damages.” 10B Charles Alan Wright, Arthur R. Miller & Mary Kay
28   Kane, Federal Practice and Procedure § 2751 (3d ed. 1998). 231. There is an
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 1   actual controversy between Nissan and Plaintiff concerning whether the Class
 2   Vehicles’ defect creates an unreasonable safety hazard.
 3           122. Pursuant to 28 U.S.C. § 2201, the Court may “declare the rights and
 4   legal relations of any interested party seeking such declaration, whether or not
 5   further relief is or could be sought.”
 6           123. Despite long knowing the nature of the Class Vehicles’ defect and
 7   its likelihood of placing Plaintiff, the Classes, and the public at risk of grave
 8   injury, Nissan refuses to publicly acknowledge the Class Vehicles’ dangerous
 9   defect. Instead, Nissan has unsuccessfully attempted to remediate the defect
10   without advising its consumers and other members of the public of the defect.
11           124. Accordingly, based on Nissan’s failure to act, Plaintiff seeks a
12   declaration that the Vehicles are defective, as alleged herein. The defective
13   nature of the Vehicles is material and requires disclosure to all persons who own
14   them.
15           125. The declaratory relief requested herein will generate common
16   answers that will settle the controversy related to the alleged defective nature of
17   the Vehicles and the reasons for their repeated failure. There is an economy to
18   resolving these issues as they have the potential to eliminate the need for
19   continued and repeated litigation.
20                           FIFTH CAUSE OF ACTION
                                  (Unjust enrichment)
21    On Behalf of the Nationwide Class and, in the alternative, the Nevada Sub-Class
22           126. Plaintiff incorporates by reference the allegations contained in the
23   above paragraphs as though fully set forth herein.
24           127. Plaintiff brings this cause of action on behalf of herself and the
25   Class, or, in the alternative, on behalf of the Nevada Sub-Class.
26           128. As a direct and proximate result of Nissan’s failure to disclose
27   known defects, Nissan has profited through the sale and lease of the Class
28   Vehicles. Although these vehicles are purchased through Nissan’s agents, the
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 1   money from the vehicle sales flows directly back to Nissan.
 2         129. Additionally, as a direct and proximate result of Nissan’s failure to
 3   disclose known defects in the Class Vehicles, Plaintiff and Class Members have
 4   vehicles that require repeated, high-cost repairs that can and therefore have
 5   conferred an unjust substantial benefit upon Nissan.
 6         130. Nissan has been unjustly enriched due to the known defects in the
 7   Class Vehicles through money that earned interest or otherwise added to
 8   Nissan’s profits when said money should have remained with Plaintiff and class
 9   members.
10         131. As a result of Nissan’s unjust enrichment, Plaintiff and Class
11   Members have suffered damages.
12                               RELIEF REQUESTED
13         132. Plaintiff, on behalf of herself and all others similarly situated,
14   requests the Court to enter judgment against Nissan, as follows:
15               a.     An order certifying the proposed Class and Sub-Classes,
16                      designating Plaintiff as named representative of the Class, and
17                      designating the undersigned as Class Counsel;
18               b.     A declaration that Nissan is financially responsible for
19                      notifying all Class Members about the defective nature of the
20                      CVT, including the need for periodic maintenance;
21               c.     An order enjoining Nissan from further deceptive distribution,
22                      sales, and lease practices with respect to Class Vehicles;
23                      compelling Nissan to issue a voluntary recall for the Class
24                      Vehicles pursuant to. 49 U.S.C. § 30118(a); compelling
25                      Nissan to remove, repair, and/or replace the Class Vehicles’
26                      defective CVT and/or its components with suitable alternative
27                      product(s) that do not contain the defects alleged herein;
28                      enjoining Nissan from selling the Class Vehicles with the
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 1                       misleading information; and/or compelling Nissan to reform
 2                       its warranty, in a manner deemed to be appropriate by the
 3                       Court, to cover the injury alleged and to notify all Class
 4                       Members that such warranty has been reformed;
 5                d.     An award to Plaintiff and the Class for compensatory,
 6                       exemplary, and statutory damages, including interest, in an
 7                       amount to be proven at trial;
 8                e.     A declaration that Nissan must disgorge, for the benefit of the
 9                       Class, all or part of the ill-gotten profits it received from the
10                       sale or lease of its Class Vehicles or make full restitution to
11                       Plaintiff and Class Members;
12                f.     An award of attorneys’ fees and costs, as allowed by law;
13                g.     An award of pre-judgment and post-judgment interest, as
14                       provided by law;
15                h.     Leave to amend the Complaint to conform to the evidence
16                       produced at trial; and
17                i.     Such other relief as may be appropriate under the
18                       circumstances.
19                            DEMAND FOR JURY TRIAL
20         133. Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff
21   demands a trial by jury of any and all issues in this action so triable.
22   Respectfully Submitted this 29th day of December, 2021.
23                                     /s/ James C. Shah___
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